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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 In re:                                           Chapter 11

 5171 CAMPBELLS LAND CO., INC.                    Case No. 19-22715-CMB
                 Debtors




          NOTICE OF ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

TO THE CLERK, U.S. BANKRUPTCY COURT:

          Kindly enter my appearance on behalf of Creditor, AmTrust North America, Inc. on behalf

of Technology Insurance Company, Inc., in the above-captioned matter, and add my name to the

mailing matrix to receive notices of all matters in this case.            My email address is

ahochheiser@mauricewutscher.com, and I authorize service by email at that address.

                                                     Respectfully submitted,

Dated: July 22, 2019                                 MAURICE WUTSCHER LLP

                                                     /s/ Alan C. Hochheiser
                                                     Alan C. Hochheiser
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                                                     Attorney for AmTrust North America, Inc.
                                                     on behalf of Technology Insurance
                                                     Company, Inc.
